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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    FLAVIA STOVALL,                       1:16-cv-4839-NLH-KMW

                   Plaintiff,             ORDER

          v.

    JAMES GRAZIOLI; GILBERTO
    VELASQUEZ; JEFF WEISEMANN;
    LUIS PEREZ; STATE OF NEW
    JERSEY; and JOHN DOES 1-10,

                   Defendants.



HILLMAN, District Judge

      For the reasons expressed in the Court’s Opinion filed

today,

      IT IS on this    22nd      day of   April      , 2020

      ORDERED that Defendant’s motion to dismiss (ECF No. 48) be,

and the same hereby is, GRANTED; and it is further

      ORDERED that Plaintiff’s second amended complaint be, and

the same hereby is, DISMISSED WITH PREJUDICE; and it is further

      ORDERED that the Clerk shall mark this matter closed.



                                            s/ Noel L. Hillman
At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.
